         Case 24-40605                Doc 116-1 Filed 05/22/24 Entered 05/22/24 18:06:04                           Desc Exhibit
Fill in this information to identify the case:
                                               MOR April Carrollton Page 1 of 32

Debtor Name Remarkable      Healthcare
            Remarkable Healthcare            of LP
                                  of Carrollton, Carrollton, LP

                                    Eastern District of Texas
United States Bankruptcy Court for the_Eastern__Texas

              24-40605                                                                                              Check if this is an
                                                                                                                        amended filing
Case number: 24-40605




Official Form 425C

Monthly Operating Report for Small Business Under Chapter 11                                                                             12/17

Month:               April            2024                                                    Date report filed:      _05/21/2024__________
                                                                                                                      MM / DD / YYYY

Line of business: NursingHome_                                                                NAISC code:             6231
                                                                                                                      ___________

In accordance with title 28, section 1746, of the United States Code, I declare under penalty of perjury
that I have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

Responsible party:                        __Jon McPike________

Original signature of responsible party   ____________________________________________

Printed name of responsible party         __Jon McPike__________________________________________


             1. Questionnaire
    Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.
                                                                                                                           Yes     No       N/A
         If you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.

    1.   Did the business operate during the entire reporting period?                                                      
                                                                                                                           ✔               
    2.   Do you plan to continue to operate the business next month?                                                              
                                                                                                                                   ✔        
    3.   Have you paid all of your bills on time?                                                                          
                                                                                                                           ✔               
    4.   Did you pay your employees on time?                                                                               
                                                                                                                           ✔               
    5.   Have you deposited all the receipts for your business into debtor in possession (DIP) accounts?                   
                                                                                                                           ✔               
    6.   Have you timely filed your tax returns and paid all of your taxes?                                                
                                                                                                                           ✔               
    7.   Have you timely filed all other required government filings?                                                      
                                                                                                                           ✔               
    8.   Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator?                   
                                                                                                                           ✔               
    9.   Have you timely paid all of your insurance premiums?                                                              
                                                                                                                           ✔               
         If you answer Yes to any of the questions in lines 10-18, attach an explanation and label it Exhibit B.
    10. Do you have any bank accounts open other than the DIP accounts?                                                           
                                                                                                                                   ✔        
    11. Have you sold any assets other than inventory?                                                                            
                                                                                                                                   ✔        
    12. Have you sold or transferred any assets or provided services to anyone related to the DIP in any way?                     
                                                                                                                                   ✔        
    13. Did any insurance company cancel your policy?                                                                             
                                                                                                                                   ✔        
    14. Did you have any unusual or significant unanticipated expenses?                                                           
                                                                                                                                   ✔        
    15. Have you borrowed money from anyone or has anyone made any payments on your behalf?                                               
                                                                                                                                            ✔

    16. Has anyone made an investment in your business?                                                                           
                                                                                                                                   ✔        
Official Form 425C                        Monthly Operating Report for Small Business Under Chapter 11                         page 1
        Case 24-40605             Doc 116-1 Filed 05/22/24 Entered 05/22/24 18:06:04                                Desc Exhibit
                                         MOR April Carrollton Page 2 of 32
Debtor Name   Remarkable    Healthcare of Carrollton, LP
              _______________________________________________________                             24-40605
                                                                                      Case number_____________________________________




    17. Have you paid any bills you owed before you filed bankruptcy?                                                            
                                                                                                                                  ✔      
    18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?                              
                                                                                                                                  ✔      


              2. Summary of Cash Activity for All Accounts

    19. Total opening balance of all accounts
                                                                                                                               20,430.00
                                                                                                                            $ __________
        This amount must equal what you reported as the cash on hand at the end of the month in the previous
        month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

    20. Total cash receipts
        Attach a listing of all cash received for the month and label it Exhibit C. Include all
        cash received even if you have not deposited it at the bank, collections on
        receivables, credit card deposits, cash received from other parties, or loans, gifts, or
        payments made by other parties on your behalf. Do not attach bank statements in
        lieu of Exhibit C.
        Report the total from Exhibit C here.                                                            260,594.00
                                                                                                      $ __________

    21. Total cash disbursements
        Attach a listing of all payments you made in the month and label it Exhibit D. List the
        date paid, payee, purpose, and amount. Include all cash payments, debit card
        transactions, checks issued even if they have not cleared the bank, outstanding
        checks issued before the bankruptcy was filed that were allowed to clear this month,
        and payments made by other parties on your behalf. Do not attach bank statements
        in lieu of Exhibit D.
                                                                                                      - $ __________
                                                                                                          380,725.00
        Report the total from Exhibit D here.

    22. Net cash flow
                                                                                                                             -120,131.00
                                                                                                                         + $ __________
        Subtract line 21 from line 20 and report the result here.
        This amount may be different from what you may have calculated as net profit.

    23. Cash on hand at the end of the month
        Add line 22 + line 19. Report the result here.
                                                                                                                             -99,701.00
        Report this figure as the cash on hand at the beginning of the month on your next operating report.              = $ __________
        This amount may not match your bank account balance because you may have outstanding checks that
        have not cleared the bank or deposits in transit.



              3. Unpaid Bills
        Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
        have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
        purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

    24. Total payables                                                                                                        151,426.77
                                                                                                                            $ ____________

               (Exhibit E)




Official Form 425C                     Monthly Operating Report for Small Business Under Chapter 11                           page 2
        Case 24-40605             Doc 116-1 Filed 05/22/24 Entered 05/22/24 18:06:04                                   Desc Exhibit
                                         MOR April Carrollton Page 3 of 32
Debtor Name   Remarkable    Healthcare of Carrollton, LP
              _______________________________________________________                                24-40605
                                                                                         Case number_____________________________________




              4. Money Owed to You
        Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
        have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
        Identify who owes you money, how much is owed, and when payment is due. Report the total from
        Exhibit F here.
    25. Total receivables                                                                                                         1,439,452.00
                                                                                                                               $ ____________

               (Exhibit F)



              5. Employees

    26. What was the number of employees when the case was filed?
                                                                                                                                         131
                                                                                                                                 ____________

    27. What is the number of employees as of the date of this monthly report?
                                                                                                                                         136
                                                                                                                                 ____________




              6. Professional Fees
    28. How much have you paid this month in professional fees related to this bankruptcy case?
                                                                                                                                    1,000.00
                                                                                                                               $ ____________

    29. How much have you paid in professional fees related to this bankruptcy case since the case was filed?                      11,750.00
                                                                                                                               $ ____________

    30. How much have you paid this month in other professional fees?                                                               5,000.00
                                                                                                                               $ ____________

    31. How much have you paid in total other professional fees since filing the case?                                              5,000.00
                                                                                                                               $ ____________




              7. Projections

        Compare your actual cash receipts and disbursements to what you projected in the previous month.
        Projected figures in the first month should match those provided at the initial debtor interview, if any.

                                        Column A                     Column B                      Column C
                                        Projected                –   Actual                    =   Difference

                                        Copy lines 35-37 from        Copy lines 20-22 of           Subtract Column B
                                        the previous month’s         this report.                  from Column A.
                                        report.
                                        $ ____________           –     260,594.00
                                                                     $ ____________
                                                                                               =   $ ____________
    32. Cash receipts
                                                                       380,725.54              =
    33. Cash disbursements              $ ____________           –   $ ____________                $ ____________

                                                                 –     -120,131.00             =
    34. Net cash flow                   $ ____________               $ ____________                $ ____________


    35. Total projected cash receipts for the next month:                                                                         327,992.00
                                                                                                                                $ ____________

    36. Total projected cash disbursements for the next month:                                                                - $ ____________
                                                                                                                                  4,447,845.00

    37. Total projected net cash flow for the next month:
                                                                                                                              = $ ____________
                                                                                                                                  -116,793.00




Official Form 425C                     Monthly Operating Report for Small Business Under Chapter 11                             page 3
        Case 24-40605             Doc 116-1 Filed 05/22/24 Entered 05/22/24 18:06:04                              Desc Exhibit
                                         MOR April Carrollton Page 4 of 32
Debtor Name   Remarkable    Healthcare of Carrollton, LP
              _______________________________________________________                            24-40605
                                                                                     Case number_____________________________________




              8. Additional Information
    If available, check the box to the left and attach copies of the following documents.

    
    ✔ 38. Bank statements for each open account (redact all but the last 4 digits of account numbers).

     39. Bank reconciliation reports for each account.
    ✔ 40. Financial reports such as an income statement (profit & loss) and/or balance sheet.
    

     41. Budget, projection, or forecast reports.

     42. Project, job costing, or work-in-progress reports.




Official Form 425C                     Monthly Operating Report for Small Business Under Chapter 11                         page 4


         Print                     Save As...                                                                               Reset
          Case 24-40605         DocRegions
                                     116-1Bank   Filed 05/22/24 Entered 05/22/24 18:06:04                              Desc Exhibit
                                   Keller
                                           MOR     April Carrollton Page 5 of 32
                                   521 Keller Parkway
                                   Keller, TX 76248




               REMARKABLE HEALTHCARE OF CARROLTON LP
               DEBTOR IN POSSESSION CASE 23-42098
               COMMERCIAL RECIEVABLES ACCOUNT
               PAYROLL ACCOUNT
               904 EMERALD BLVD                                                                           ACCOUNT #         5998
               SOUTHLAKE TX 76092-6203
                                                                                                                                        001
                                                                                                                   Cycle                 26
                                                                                                              Enclosures                   0
                                                                                                                   Page               1 of 3

                                                            DACA PASSIVE
                                                 March 30, 2024 through April 30, 2024



                                                                 SUMMARY
Beginning Balance                           $28,171.02                   Minimum Balance                                           $319 -
Deposits & Credits                          $87,774.90       +
Withdrawals                                $110,425.49       -
Fees                                           $819.93       -
Automatic Transfers                              $0.00       +
Checks                                           $0.00       -
Ending Balance                               $4,700.50



                                                      DEPOSITS & CREDITS
       04/01      Central Payment Pmt Proc Remarkable Hea 84870022149101                                                         900.00
       04/03      Central Payment Pmt Proc Remarkable Hea 84870022149101                                                       5,550.00
       04/04      Wellpoint Tx5c Hcclaimpmt Remarkable Hea 3237515634                                                         16,959.52
       04/05      Wellpoint Tx5c Hcclaimpmt Remarkable Hea 3237646695                                                          1,367.65
       04/05      Hnb - Echo     Hcclaimpmt Remarkable Hea 462265960                                                           2,090.25
       04/05      Central Payment Pmt Proc Remarkable Hea 84870022149101                                                       8,215.61
       04/09      BCBS Texas      Hcclaimpmt Cp20240405e518 C24096e51859410                                                      329.91
       04/09      Wellpoint Tx5c Hcclaimpmt Remarkable Hea 3237865565                                                          3,975.90
       04/10      Hnb - Echo     Hcclaimpmt Remarkable Hea 462265960                                                           7,466.62
       04/12      Unitedhealthcare Hcclaimpmt Remarkable Hea 462265960                                                           613.72
       04/15      Wellpoint Tx5c Hcclaimpmt Remarkable Hea 3238362594                                                            410.29
       04/15      Central Payment Pmt Proc Remarkable Hea 84870022149101                                                       1,500.00
       04/16      Aetna As01     Hcclaimpmt Remarkable Hea Xxxxx5960                                                              16.80
       04/17      Central Payment Pmt Proc Remarkable Hea 84870022149101                                                         614.00
       04/19      Unitedhealthcare Hcclaimpmt Remarkable Hea 462265960                                                         1,048.27
       04/19      Central Payment Pmt Proc Remarkable Hea 84870022149101                                                       3,223.70
       04/22      Central Payment Pmt Proc Remarkable Hea 84870022149101                                                       2,000.00
       04/24      Unitedhealthcare Hcclaimpmt Remarkable Hea 462265960                                                        11,250.00
       04/25      Aetna As01     Hcclaimpmt Remarkable Hea Xxxxx5960                                                              56.16
       04/25      Aetna As01     Hcclaimpmt Remarkable Hea Xxxxx5960                                                          11,814.00
       04/25      Central Payment Pmt Proc Remarkable Hea 84870022149101                                                       2,119.00
       04/29      Central Payment Pmt Proc Remarkable Hea 84870022149101                                                       2,053.00
       04/30      Centene Corp Hcclaimpmt Remarkable Hea                                                                       3,592.16
       04/30      Hnb - Echo     Hcclaimpmt Remarkable Hea 462265960                                                             608.34

                                                                                            Total Deposits & Credits         $87,774.90




                                               Thank You For Banking With Regions!
                                       2024 Regions Bank Member FDIC. All loans subject to credit approval.
   Case 24-40605          DocRegions
                               116-1Bank   Filed 05/22/24 Entered 05/22/24 18:06:04          Desc Exhibit
                             Keller
                                     MOR     April Carrollton Page 6 of 32
                             521 Keller Parkway
                             Keller, TX 76248




REMARKABLE HEALTHCARE OF CARROLTON LP
DEBTOR IN POSSESSION CASE 23-42098
COMMERCIAL RECIEVABLES ACCOUNT
                                                                             ACCOUNT #            5998
PAYROLL ACCOUNT
904 EMERALD BLVD                                                                                              001
SOUTHLAKE TX 76092-6203                                                                 Cycle                  26
                                                                                   Enclosures                    0
                                                                                        Page                2 of 3

                                                    WITHDRAWALS
04/01   EB to Checking # 6188 Ref# 000000 8647299                                                   18,000.00
04/02   EB to Checking # 6161 Ref# 000000 8647300                                                   10,000.00
04/03   EB to Checking # 6161 Ref# 000000 8647310                                                    6,121.02
04/04   EB to Checking # 6161 Ref# 000000 8647316                                                   16,959.52
04/05   EB to Checking # 8009 Ref# 000000 8647320                                                   11,673.51
04/09   EB to Checking # 6161 Ref# 000000 8647331                                                    4,305.81
04/11   EB to Checking # 6161 Ref# 000000 8647337                                                    6,646.69
04/19   EB to Checking # 6161 Ref# 000000 8647350                                                    7,426.78
04/29   EB to Checking # 6161 Ref# 000000 8647355                                                   29,292.16

                                                                         Total Withdrawals        $110,425.49


                                                       FEES
04/09   Analysis Charge        03-24                                                                  819.93


                                          DAILY BALANCE SUMMARY
Date                 Balance                Date              Balance          Date                  Balance
04/01               11,071.02               04/10             7,146.69         04/19                   500.00
04/02                1,071.02               04/11               500.00         04/22                 2,500.00
04/03                  500.00               04/12             1,113.72         04/24                13,750.00
04/04                  500.00               04/15             3,024.01         04/25                27,739.16
04/05                  500.00               04/16             3,040.81         04/29                   500.00
04/09                  319.93 -             04/17             3,654.81         04/30                 4,700.50



                            You may request account disclosures containing
                             terms, fees, and rate information (if applicable)
                           for your account by contacting any Regions office.
              Case 24-40605                Doc 116-1 Filed 05/22/24 Entered 05/22/24 18:06:04                                         Desc Exhibit
                                                                                                                                              Page 3 of 3
                                                  MOR April Carrollton Page 7 of 32


          Easy Steps to Balance Your Account                                                          4a List any checks, payments, transfers or other
                                                                                                         withdrawals from your account that are not on
                                                                               Checking                  this statement.
                                                                               Account
                                                                                                             Check
              1.       Write here the amount shown on                      $                                  No.                            Amount
                       statement for ENDING BALANCE
                                                                                                                              $
                                                                                                                              $
              2.       Enter any deposits which have not been              $
                       credited on this statement.                         +                                                  $
                                                                                                                              $

              3.       Total lines 1 & 2                                   $                                                  $
                                                                           =                                                  $
                                                                                                                              $
              4.       Enter total from 4a                                 $                                                  $
                       (column on right side of page)                      -                                                  $
                                                                                                                              $
              5.       Subtract line 4 from line 3.                        $                                                  $
                       This should be your checkbook balance.              =
                                                                                                                              $
                                                                                                                              $
                                                                                                                              $
                                                                                                       Total Enter in
                                                                                                       Line 4 at Left


The law requires you to use "reasonable care and promptness" in examining your bank statement and any checks sent with it and to report to the Bank an
unauthorized signature (i.e., a forgery), any alteration of a check, or any unauthorized endorsement. You must report any forged signatures, alterations or forged
endorsements to the Bank within the time periods specified under the Deposit Agreement. If you do not do this, the Bank will not be liable to you for the losses or
claims arising from the forged signatures, forged endorsements or alterations. Please see the Deposit Agreement for further explanation of your responsibilities
with regard to your statement and checks. A copy of our current Deposit Agreement may be requested at any of our branch locations.

                                                           Summary of Our Error Resolution Procedures
                                                   In Case of Errors or Questions About Your Electronic Transfers
                                                              Telephone us toll-free at 1-800-734-4667
                                                                            or write us at
                                                            Regions Electronic Funds Transfer Services
                                                                         Post Office Box 413
                                                                    Birmingham, Alabama 35201

Please contact Regions as soon as you can, if you think your statement is wrong or if you need more information about a transfer listed on your statement. We
must hear from you no later than sixty (60) days after we sent the FIRST statement on which the problem or error appeared.
      (1) Tell us your name and account number.
      (2) Describe the error or the transfer you are unsure about and explain as clearly as you can why you believe it is an error or why you need more information.
      (3) Tell us the dollar amount of the suspected error.
If you tell us verbally, we may require that you send us your complaint or question in writing within ten (10) business days.

We will determine whether an error occurred within ten (10) business days after we hear from you and will correct any error promptly. If we need more time,
however, we may take up to forty-five (45) days to investigate your complaint or question (ninety (90) days for POS transactions or for transfers initiated outside of
the United States). If we decide to do this, we will credit your account within ten (10) business days for the amount you think is in error. If, after the investigation,
we determine that no bank error occurred, we will debit your account to the extent previously credited. If we ask you to put your complaint in writing and we do not
receive it within ten (10) business days, we may not credit your account.

New Accounts- If an alleged error occurred within thirty (30) days after your first deposit to your account was made, we may have up to ninety (90) days to
investigate your complaint, provided we credit your account within twenty (20) business days for the amount you think is in error.
If we decide there was no error, we will send you a written explanation within three (3) business days after we finish our investigation. You may ask for copies of
the documents that we used in our investigation.
FOR QUESTIONS CONCERNING THIS STATEMENT OR FOR VERIFICATION OF A PREAUTHORIZED DEPOSIT, PLEASE CALL 1-800-REGIONS
(734-4667) OR VISIT YOUR NEAREST REGIONS LOCATION.

ADJ - Adjustment              RI - Return Item                 CR - Credit                           SC - Service Charge                  OD - Overdrawn
EB - Electronic Banking       NSF - Nonsufficient Funds        APY - Annual Percentage Yield         FWT - Federal Withholding Tax        *Break in Number Sequence
You can make a deposit at the branch during business hours or at a Regions Deposit-Smart ATM, and you can also make a transfer or deposit through Regions
Online Banking or Mobile Banking. To make a deposit to an overdrawn account 24 hours a day, please visit https://selfservice.regions.com.
Case 24-40605   Doc 116-1 Filed 05/22/24 Entered 05/22/24 18:06:04   Desc Exhibit
                       MOR April Carrollton Page 8 of 32
          Case 24-40605         DocRegions
                                     116-1Bank   Filed 05/22/24 Entered 05/22/24 18:06:04                              Desc Exhibit
                                   Keller
                                           MOR     April Carrollton Page 9 of 32
                                   521 Keller Parkway
                                   Keller, TX 76248




               REMARKABLE HEALTHCARE OF CARROLTON LP
               DEBTOR IN POSSESSION CASE 23-42098
               COMMERCIAL RECIEVABLES ACCOUNT
               PAYROLL ACCOUNT
               904 EMERALD BLVD                                                                           ACCOUNT #         5998
               SOUTHLAKE TX 76092-6203
                                                                                                                                        001
                                                                                                                   Cycle                 26
                                                                                                              Enclosures                   0
                                                                                                                   Page               1 of 3

                                                            DACA PASSIVE
                                                 March 30, 2024 through April 30, 2024



                                                                 SUMMARY
Beginning Balance                           $28,171.02                   Minimum Balance                                           $319 -
Deposits & Credits                          $87,774.90       +
Withdrawals                                $110,425.49       -
Fees                                           $819.93       -
Automatic Transfers                              $0.00       +
Checks                                           $0.00       -
Ending Balance                               $4,700.50



                                                      DEPOSITS & CREDITS
       04/01      Central Payment Pmt Proc Remarkable Hea 84870022149101                                                         900.00
       04/03      Central Payment Pmt Proc Remarkable Hea 84870022149101                                                       5,550.00
       04/04      Wellpoint Tx5c Hcclaimpmt Remarkable Hea 3237515634                                                         16,959.52
       04/05      Wellpoint Tx5c Hcclaimpmt Remarkable Hea 3237646695                                                          1,367.65
       04/05      Hnb - Echo     Hcclaimpmt Remarkable Hea 462265960                                                           2,090.25
       04/05      Central Payment Pmt Proc Remarkable Hea 84870022149101                                                       8,215.61
       04/09      BCBS Texas      Hcclaimpmt Cp20240405e518 C24096e51859410                                                      329.91
       04/09      Wellpoint Tx5c Hcclaimpmt Remarkable Hea 3237865565                                                          3,975.90
       04/10      Hnb - Echo     Hcclaimpmt Remarkable Hea 462265960                                                           7,466.62
       04/12      Unitedhealthcare Hcclaimpmt Remarkable Hea 462265960                                                           613.72
       04/15      Wellpoint Tx5c Hcclaimpmt Remarkable Hea 3238362594                                                            410.29
       04/15      Central Payment Pmt Proc Remarkable Hea 84870022149101                                                       1,500.00
       04/16      Aetna As01     Hcclaimpmt Remarkable Hea Xxxxx5960                                                              16.80
       04/17      Central Payment Pmt Proc Remarkable Hea 84870022149101                                                         614.00
       04/19      Unitedhealthcare Hcclaimpmt Remarkable Hea 462265960                                                         1,048.27
       04/19      Central Payment Pmt Proc Remarkable Hea 84870022149101                                                       3,223.70
       04/22      Central Payment Pmt Proc Remarkable Hea 84870022149101                                                       2,000.00
       04/24      Unitedhealthcare Hcclaimpmt Remarkable Hea 462265960                                                        11,250.00
       04/25      Aetna As01     Hcclaimpmt Remarkable Hea Xxxxx5960                                                              56.16
       04/25      Aetna As01     Hcclaimpmt Remarkable Hea Xxxxx5960                                                          11,814.00
       04/25      Central Payment Pmt Proc Remarkable Hea 84870022149101                                                       2,119.00
       04/29      Central Payment Pmt Proc Remarkable Hea 84870022149101                                                       2,053.00
       04/30      Centene Corp Hcclaimpmt Remarkable Hea                                                                       3,592.16
       04/30      Hnb - Echo     Hcclaimpmt Remarkable Hea 462265960                                                             608.34

                                                                                            Total Deposits & Credits         $87,774.90




                                               Thank You For Banking With Regions!
                                       2024 Regions Bank Member FDIC. All loans subject to credit approval.
   Case 24-40605          DocRegions
                               116-1Bank   Filed 05/22/24 Entered 05/22/24 18:06:04          Desc Exhibit
                             Keller
                                    MOR      April Carrollton Page 10 of 32
                             521 Keller Parkway
                             Keller, TX 76248




REMARKABLE HEALTHCARE OF CARROLTON LP
DEBTOR IN POSSESSION CASE 23-42098
COMMERCIAL RECIEVABLES ACCOUNT
                                                                             ACCOUNT #            5998
PAYROLL ACCOUNT
904 EMERALD BLVD                                                                                              001
SOUTHLAKE TX 76092-6203                                                                 Cycle                  26
                                                                                   Enclosures                    0
                                                                                        Page                2 of 3

                                                    WITHDRAWALS
04/01   EB to Checking # 6188 Ref# 000000 8647299 EB to                                             18,000.00
04/02   Checking # 6161 Ref# 000000 8647300 EB to                                                   10,000.00
04/03   Checking # 6161 Ref# 000000 8647310 EB to                                                    6,121.02
04/04   Checking # 6161 Ref# 000000 8647316 EB to                                                   16,959.52
04/05   Checking # 8009 Ref# 000000 8647320 EB to                                                   11,673.51
04/09   Checking # 6161 Ref# 000000 8647331 EB to                                                    4,305.81
04/11   Checking # 6161 Ref# 000000 8647337 EB to                                                    6,646.69
04/19   Checking # 6161 Ref# 000000 8647350 EB to                                                    7,426.78
04/29   Checking # 6161 Ref# 000000 8647355                                                         29,292.16

                                                                         Total Withdrawals        $110,425.49


                                                       FEES
04/09   Analysis Charge        03-24                                                                  819.93


                                          DAILY BALANCE SUMMARY
Date                 Balance                Date              Balance          Date                  Balance
04/01               11,071.02               04/10             7,146.69         04/19                   500.00
04/02                1,071.02               04/11               500.00         04/22                 2,500.00
04/03                  500.00               04/12             1,113.72         04/24                13,750.00
04/04                  500.00               04/15             3,024.01         04/25                27,739.16
04/05                  500.00               04/16             3,040.81         04/29                   500.00
04/09                  319.93 -             04/17             3,654.81         04/30                 4,700.50



                            You may request account disclosures containing
                             terms, fees, and rate information (if applicable)
                           for your account by contacting any Regions office.
              Case 24-40605                Doc 116-1 Filed 05/22/24 Entered 05/22/24 18:06:04                                         Desc Exhibit
                                                                                                                                              Page 3 of 3
                                                  MOR April Carrollton Page 11 of 32


          Easy Steps to Balance Your Account                                                          4a List any checks, payments, transfers or other
                                                                                                         withdrawals from your account that are not on
                                                                               Checking                  this statement.
                                                                               Account
                                                                                                             Check
              1.       Write here the amount shown on                      $                                  No.                            Amount
                       statement for ENDING BALANCE
                                                                                                                              $
                                                                                                                              $
              2.       Enter any deposits which have not been              $
                       credited on this statement.                         +                                                  $
                                                                                                                              $

              3.       Total lines 1 & 2                                   $                                                  $
                                                                           =                                                  $
                                                                                                                              $
              4.       Enter total from 4a                                 $                                                  $
                       (column on right side of page)                      -                                                  $
                                                                                                                              $
              5.       Subtract line 4 from line 3.                        $                                                  $
                       This should be your checkbook balance.              =
                                                                                                                              $
                                                                                                                              $
                                                                                                                              $
                                                                                                       Total Enter in
                                                                                                       Line 4 at Left


The law requires you to use "reasonable care and promptness" in examining your bank statement and any checks sent with it and to report to the Bank an
unauthorized signature (i.e., a forgery), any alteration of a check, or any unauthorized endorsement. You must report any forged signatures, alterations or forged
endorsements to the Bank within the time periods specified under the Deposit Agreement. If you do not do this, the Bank will not be liable to you for the losses or
claims arising from the forged signatures, forged endorsements or alterations. Please see the Deposit Agreement for further explanation of your responsibilities
with regard to your statement and checks. A copy of our current Deposit Agreement may be requested at any of our branch locations.

                                                           Summary of Our Error Resolution Procedures
                                                   In Case of Errors or Questions About Your Electronic Transfers
                                                              Telephone us toll-free at 1-800-734-4667
                                                                            or write us at
                                                            Regions Electronic Funds Transfer Services
                                                                         Post Office Box 413
                                                                    Birmingham, Alabama 35201

Please contact Regions as soon as you can, if you think your statement is wrong or if you need more information about a transfer listed on your statement. We
must hear from you no later than sixty (60) days after we sent the FIRST statement on which the problem or error appeared.
      (1) Tell us your name and account number.
      (2) Describe the error or the transfer you are unsure about and explain as clearly as you can why you believe it is an error or why you need more information.
      (3) Tell us the dollar amount of the suspected error.
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(734-4667) OR VISIT YOUR NEAREST REGIONS LOCATION.

ADJ - Adjustment              RI - Return Item                 CR - Credit                           SC - Service Charge                  OD - Overdrawn
EB - Electronic Banking       NSF - Nonsufficient Funds        APY - Annual Percentage Yield         FWT - Federal Withholding Tax        *Break in Number Sequence
You can make a deposit at the branch during business hours or at a Regions Deposit-Smart ATM, and you can also make a transfer or deposit through Regions
Online Banking or Mobile Banking. To make a deposit to an overdrawn account 24 hours a day, please visit https://selfservice.regions.com.
Case 24-40605   Doc 116-1 Filed 05/22/24 Entered 05/22/24 18:06:04   Desc Exhibit
                       MOR April Carrollton Page 12 of 32
          Case 24-40605         DocRegions
                                     116-1Bank   Filed 05/22/24 Entered 05/22/24 18:06:04                               Desc Exhibit
                                   Keller
                                          MOR      April Carrollton Page 13 of 32
                                   521 Keller Parkway
                                    Keller, TX 76248




               REMARKABLE HEALTHCARE OF CARROLTON LP
               DEBTOR IN POSSESSION CASE 23-42098
               DBA REMARKABLE HEALTHCARE OF PRESTONWOOD
               GOVERNMENT RECEIVABLES ACC OPERATING ACC
               904 EMERALD BLVD                                                                            ACCOUNT #         8009
               SOUTHLAKE TX 76092-6203
                                                                                                                                         001
                                                                                                                    Cycle                 26
                                                                                                               Enclosures                   0
                                                                                                                    Page               1 of 3

                                                             DACA PASSIVE
                                                  March 30, 2024 through April 30, 2024



                                                                  SUMMARY
Beginning Balance                            $18,837.08                   Minimum Balance                                           $500
Deposits & Credits                          $184,492.10       +
Withdrawals                                 $131,312.60       -
Fees                                            $413.02       -
Automatic Transfers                               $0.00       +
Checks                                            $0.00       -
Ending Balance                               $71,603.56



                                                       DEPOSITS & CREDITS
       04/02      Quick Deposit - Thank You                                                                                     4,486.76
       04/02      Quick Deposit - Thank You                                                                                     5,601.84
       04/04      Quick Deposit - Thank You                                                                                     6,459.40
       04/04      Novitas Solution Hcclaimpmt Remarkable Hea 676363                                                             2,467.63
       04/05      Quick Deposit - Thank You                                                                                     2,858.53
       04/05      EB From Checking # 0247445998 Ref# 000000 8647320                                                            11,673.51
       04/08      Novitas Solution Hcclaimpmt Remarkable Hea 676363                                                            11,354.03
       04/09      Quick Deposit - Thank You                                                                                     3,362.85
       04/10      Health Human Svc Hcclaimpmt Remarkable Hea 14622659606000                                                    18,361.23
       04/15      Hnb - Echo      Hcclaimpmt Remarkable Hea 462265960                                                           2,244.00
       04/16      Novitas Solution Hcclaimpmt Remarkable Hea 676363                                                            16,310.84
       04/17      Quick Deposit - Thank You                                                                                    10,501.46
       04/18      Hnb - Echo      Hcclaimpmt Remarkable Hea 462265960                                                           9,320.26
       04/19      Quick Deposit - Thank You                                                                                     1,103.00
       04/23      Humana Cha Disb Hcclaimpmt Remarkable Hea 46185648                                                               94.89
       04/23      Humana Cha Disb Hcclaimpmt Remarkable Hea 46185649                                                            1,401.04
       04/24      Molina Healthcar Molinaach 0004remarkable 01275755                                                              844.09
       04/24      Health Human Svc Hcclaimpmt Remarkable Hea 14622659606000                                                     2,173.71
       04/29      Humana Cha Disb Hcclaimpmt Remarkable Hea 46435534                                                            2,769.47
       04/30      Quick Deposit - Thank You                                                                                     9,656.72
       04/30      Health Human Svc Hcclaimpmt Remarkable Hea 14622659606000                                                    61,446.84

                                                                                             Total Deposits & Credits        $184,492.10


                                                            WITHDRAWALS
       04/03      EB to Checking # 6161 Ref# 000000 8647303 EB to                                                               5,000.00
       04/03      Checking # 161 Ref# 000000 8647309                                                                           23,425.68




                                                Thank You For Banking With Regions!
                                        2024 Regions Bank Member FDIC. All loans subject to credit approval.
   Case 24-40605          DocRegions
                               116-1Bank   Filed 05/22/24 Entered 05/22/24 18:06:04        Desc Exhibit
                             Keller
                                    MOR      April Carrollton Page 14 of 32
                             521 Keller Parkway
                             Keller, TX 76248




REMARKABLE HEALTHCARE OF CARROLTON LP
DEBTOR IN POSSESSION CASE 23-42098
DBA REMARKABLE HEALTHCARE OF PRESTONWOOD
                                                                           ACCOUNT #            8009
GOVERNMENT RECEIVABLES ACC OPERATING ACC
904 EMERALD BLVD                                                                                            001
SOUTHLAKE TX 76092-6203                                                               Cycle                  26
                                                                                 Enclosures                    0
                                                                                      Page                2 of 3

                                         WITHDRAWALS (CONTINUED)
04/04   Regions Bank Acct Trans 271665142     Nandashipp                                           2,900.00
04/05   EB to Checking # 6161 Ref# 000000 8647321 EB to                                           17,700.54
04/08   Checking # 6161 Ref# 000000 8647327 EB to                                                 14,212.56
04/11   Checking # 6161 Ref# 000000 8647336                                                       21,311.06
04/18   Regions Bank Acct Trans 271665142     Nandashipp                                           5,000.00
04/18   Regions Bank Acct Trans 271665142     Jmcpike                                              6,666.67
04/18   Regions Bank Acct Trans 271665142     Jmcpike                                              6,666.67
04/19   EB to Checking # 6161 Ref# 000000 8647351 EB to                                           20,043.22
04/29   Checking # 6161 Ref# 000000 8647356                                                        8,386.20

                                                                       Total Withdrawals        $131,312.60


                                                    FEES
04/09   Analysis Charge        03-24                                                                413.02


                                          DAILY BALANCE SUMMARY
Date                 Balance                Date            Balance          Date                  Balance
04/02               28,925.68               04/10          21,811.06         04/19                 1,603.00
04/03                  500.00               04/11             500.00         04/23                 3,098.93
04/04                6,527.03               04/15           2,744.00         04/24                 6,116.73
04/05                3,358.53               04/16          19,054.84         04/29                   500.00
04/08                  500.00               04/17          29,556.30         04/30                71,603.56
04/09                3,449.83               04/18          20,543.22



                            You may request account disclosures containing
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                           for your account by contacting any Regions office.
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                                                  MOR April Carrollton Page 15 of 32


          Easy Steps to Balance Your Account                                                          4a List any checks, payments, transfers or other
                                                                                                         withdrawals from your account that are not on
                                                                               Checking                  this statement.
                                                                               Account
                                                                                                             Check
              1.       Write here the amount shown on                      $                                  No.                            Amount
                       statement for ENDING BALANCE
                                                                                                                              $
                                                                                                                              $
              2.       Enter any deposits which have not been              $
                       credited on this statement.                         +                                                  $
                                                                                                                              $

              3.       Total lines 1 & 2                                   $                                                  $
                                                                           =                                                  $
                                                                                                                              $
              4.       Enter total from 4a                                 $                                                  $
                       (column on right side of page)                      -                                                  $
                                                                                                                              $
              5.       Subtract line 4 from line 3.                        $                                                  $
                       This should be your checkbook balance.              =
                                                                                                                              $
                                                                                                                              $
                                                                                                                              $
                                                                                                       Total Enter in
                                                                                                       Line 4 at Left


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claims arising from the forged signatures, forged endorsements or alterations. Please see the Deposit Agreement for further explanation of your responsibilities
with regard to your statement and checks. A copy of our current Deposit Agreement may be requested at any of our branch locations.

                                                           Summary of Our Error Resolution Procedures
                                                   In Case of Errors or Questions About Your Electronic Transfers
                                                              Telephone us toll-free at 1-800-734-4667
                                                                            or write us at
                                                            Regions Electronic Funds Transfer Services
                                                                         Post Office Box 413
                                                                    Birmingham, Alabama 35201

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(734-4667) OR VISIT YOUR NEAREST REGIONS LOCATION.

ADJ - Adjustment              RI - Return Item                 CR - Credit                           SC - Service Charge                  OD - Overdrawn
EB - Electronic Banking       NSF - Nonsufficient Funds        APY - Annual Percentage Yield         FWT - Federal Withholding Tax        *Break in Number Sequence
You can make a deposit at the branch during business hours or at a Regions Deposit-Smart ATM, and you can also make a transfer or deposit through Regions
Online Banking or Mobile Banking. To make a deposit to an overdrawn account 24 hours a day, please visit https://selfservice.regions.com.
Case 24-40605   Doc 116-1 Filed 05/22/24 Entered 05/22/24 18:06:04   Desc Exhibit
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          Case 24-40605           DocRegions
                                        116-1Bank  Filed 05/22/24 Entered 05/22/24 18:06:04                                   Desc Exhibit
                                     Ft Worth
                                            MOR     April Carrollton Page 17 of 32
                                     3017 W 7th Street
                                      Fort Worth, TX 76107




               REMARKABLE HEALTHCARE OF CARROLTON LP
               DEBTOR IN POSSESSION CASE 23-42098
               PAYROLL
               904 EMERALD BLVD
               SOUTHLAKE TX 76092-6203                                                                       ACCOUNT #             4053
                                                                                                                                               001
                                                                                                                         Cycle                  26
                                                                                                                    Enclosures                    0
                                                                                                                         Page                1 of 2

                                            COMMERCIAL ANALYZED CHECKING
                                                    March 30, 2024 through April 30, 2024



                                                                    SUMMARY
Beginning Balance                                   $538.86                 Minimum Balance                                               $429
Deposits & Credits                                    $0.00     +
Withdrawals                                           $0.00     -
Fees                                                $109.39     -
Automatic Transfers                                   $0.00     +
Checks                                                $0.00     -
Ending Balance                                      $429.47



                                                                       FEES
       04/09      Analysis Charge        03-24                                                                                          35.39
       04/09      Analysis Explicit Charge 03-24                                                                                        74.00

                                                                                                                 Total Fees           $109.39


                                                    DAILY BALANCE SUMMARY
       Date                     Balance
       04/09                     429.47



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                                    for your account by contacting any Regions office.




                                                   Thank You For Banking With Regions!
                                          2024 Regions Bank Member FDIC. All loans subject to credit approval.
              Case 24-40605                Doc 116-1 Filed 05/22/24 Entered 05/22/24 18:06:04                                         Desc Exhibit
                                                                                                                                              Page 2 of 2
                                                  MOR April Carrollton Page 18 of 32


          Easy Steps to Balance Your Account                                                          4a List any checks, payments, transfers or other
                                                                                                         withdrawals from your account that are not on
                                                                               Checking                  this statement.
                                                                               Account
                                                                                                             Check
              1.       Write here the amount shown on                      $                                  No.                            Amount
                       statement for ENDING BALANCE
                                                                                                                              $
                                                                                                                              $
              2.       Enter any deposits which have not been              $
                       credited on this statement.                         +                                                  $
                                                                                                                              $

              3.       Total lines 1 & 2                                   $                                                  $
                                                                           =                                                  $
                                                                                                                              $
              4.       Enter total from 4a                                 $                                                  $
                       (column on right side of page)                      -                                                  $
                                                                                                                              $
              5.       Subtract line 4 from line 3.                        $                                                  $
                       This should be your checkbook balance.              =
                                                                                                                              $
                                                                                                                              $
                                                                                                                              $
                                                                                                       Total Enter in
                                                                                                       Line 4 at Left


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                                                           Summary of Our Error Resolution Procedures
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                                                                         Post Office Box 413
                                                                    Birmingham, Alabama 35201

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      (2) Describe the error or the transfer you are unsure about and explain as clearly as you can why you believe it is an error or why you need more information.
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ADJ - Adjustment              RI - Return Item                 CR - Credit                           SC - Service Charge                  OD - Overdrawn
EB - Electronic Banking       NSF - Nonsufficient Funds        APY - Annual Percentage Yield         FWT - Federal Withholding Tax        *Break in Number Sequence
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Online Banking or Mobile Banking. To make a deposit to an overdrawn account 24 hours a day, please visit https://selfservice.regions.com.
        Case 24-40605                   Doc 116-1 Filed 05/22/24 Entered 05/22/24 18:06:04                              Desc Exhibit
  RH Carrollton Exhibit C                      MOR April Carrollton Page 19 of 32

Post Date Account Name                   Transaction Description    Status    Debit/CreditAmount   Transaction Detail                        BAI Code Currency
  4/30/24 Carrollton/PWD COM Deposits    PREAUTHORIZED ACH CREDIT   Cleared   Credit       3592.16 CENTENE CORP                  /                 165 USD     /
  4/30/24 Carrollton/PWD COM Deposits    PREAUTHORIZED ACH CREDIT   Cleared   Credit        608.34 HNB - ECHO           /                     462265960
                                                                                                                                                   165 USD         /
  4/29/24 Carrollton/PWD COM Deposits    PREAUTHORIZED ACH CREDIT   Cleared   Credit         2053 CENTRAL PAYMENT                    /             84870022149101
                                                                                                                                                   165 USD
  4/25/24 Carrollton/PWD COM Deposits    PREAUTHORIZED ACH CREDIT   Cleared   Credit        11814 AETNA AS01            /                     XXXXX5960
                                                                                                                                                   165 USD          /
  4/25/24 Carrollton/PWD COM Deposits    PREAUTHORIZED ACH CREDIT   Cleared   Credit         2119 CENTRAL PAYMENT                    /             84870022149101
                                                                                                                                                   165 USD
  4/25/24 Carrollton/PWD COM Deposits    PREAUTHORIZED ACH CREDIT   Cleared   Credit         56.16 AETNA AS01           /                     XXXXX5960
                                                                                                                                                   165 USD          /
  4/24/24 Carrollton/PWD COM Deposits    PREAUTHORIZED ACH CREDIT   Cleared   Credit        11250 UnitedHealthcare          /                   462265960
                                                                                                                                                   165 USD            /
  4/22/24 Carrollton/PWD COM Deposits    PREAUTHORIZED ACH CREDIT   Cleared   Credit         2000 CENTRAL PAYMENT                    /             84870022149101
                                                                                                                                                   165 USD
  4/19/24 Carrollton/PWD COM Deposits    PREAUTHORIZED ACH CREDIT   Cleared   Credit        3223.7 CENTRAL PAYMENT                   /             84870022149101
                                                                                                                                                   165 USD
  4/19/24 Carrollton/PWD COM Deposits    PREAUTHORIZED ACH CREDIT   Cleared   Credit       1048.27 UnitedHealthcare         /                   462265960
                                                                                                                                                   165 USD            /
  4/17/24 Carrollton/PWD COM Deposits    PREAUTHORIZED ACH CREDIT   Cleared   Credit          614 CENTRAL PAYMENT                    /             84870022149101
                                                                                                                                                   165 USD
  4/16/24 Carrollton/PWD COM Deposits    PREAUTHORIZED ACH CREDIT   Cleared   Credit          16.8 AETNA AS01           /                     XXXXX5960
                                                                                                                                                   165 USD          /
  4/15/24 Carrollton/PWD COM Deposits    PREAUTHORIZED ACH CREDIT   Cleared   Credit         1500 CENTRAL PAYMENT                    /             84870022149101
                                                                                                                                                   165 USD
  4/15/24 Carrollton/PWD COM Deposits    PREAUTHORIZED ACH CREDIT   Cleared   Credit        410.29 Wellpoint TX5C           /                  3238362594
                                                                                                                                                   165 USD             /
  4/12/24 Carrollton/PWD COM Deposits    PREAUTHORIZED ACH CREDIT   Cleared   Credit        613.72 UnitedHealthcare          /                  462265960
                                                                                                                                                   165 USD            /
  4/10/24 Carrollton/PWD COM Deposits    PREAUTHORIZED ACH CREDIT   Cleared   Credit       7466.62 HNB - ECHO           /                     462265960
                                                                                                                                                   165 USD         /
   4/9/24 Carrollton/PWD COM Deposits    PREAUTHORIZED ACH CREDIT   Cleared   Credit        3975.9 Wellpoint TX5C           /                  3237865565
                                                                                                                                                   165 USD             /
   4/9/24 Carrollton/PWD COM Deposits    PREAUTHORIZED ACH CREDIT   Cleared   Credit        329.91 BCBS TEXAS           /                     C24096E51859410
                                                                                                                                                   165 USD
   4/5/24 Carrollton/PWD COM Deposits    PREAUTHORIZED ACH CREDIT   Cleared   Credit       8215.61 CENTRAL PAYMENT                   /             84870022149101
                                                                                                                                                   165 USD
   4/5/24 Carrollton/PWD COM Deposits    PREAUTHORIZED ACH CREDIT   Cleared   Credit       2090.25 HNB - ECHO           /                     462265960
                                                                                                                                                   165 USD         /
   4/5/24 Carrollton/PWD COM Deposits    PREAUTHORIZED ACH CREDIT   Cleared   Credit       1367.65 Wellpoint TX5C           /                  3237646695
                                                                                                                                                   165 USD             /
   4/4/24 Carrollton/PWD COM Deposits    PREAUTHORIZED ACH CREDIT   Cleared   Credit      16959.52 Wellpoint TX5C           /                  3237515634
                                                                                                                                                   165 USD             /
   4/3/24 Carrollton/PWD COM Deposits    PREAUTHORIZED ACH CREDIT   Cleared   Credit         5550 CENTRAL PAYMENT                    /             84870022149101
                                                                                                                                                   165 USD
   4/1/24 Carrollton/PWD COM Deposits    PREAUTHORIZED ACH CREDIT   Cleared   Credit          900 CENTRAL PAYMENT                    /             84870022149101
                                                                                                                                                   165 USD
  4/30/24 Carrollton/PWD GOV Deposits    CHECK DEPOSIT PACKAGE      Cleared   Credit       9656.72                                                 175 USD
  4/30/24 Carrollton/PWD GOV Deposits    PREAUTHORIZED ACH CREDIT   Cleared   Credit      61446.84 HEALTH HUMAN SVC                      /         165
                                                                                                                                                    14622659606000
                                                                                                                                                        USD
  4/29/24 Carrollton/PWD GOV Deposits    PREAUTHORIZED ACH CREDIT   Cleared   Credit       2769.47 HUMANA CHA DISB                   /             46435534
                                                                                                                                                   165 USD
  4/24/24 Carrollton/PWD GOV Deposits    PREAUTHORIZED ACH CREDIT   Cleared   Credit       2173.71 HEALTH HUMAN SVC                      /         165
                                                                                                                                                    14622659606000
                                                                                                                                                        USD
  4/24/24 Carrollton/PWD GOV Deposits    PREAUTHORIZED ACH CREDIT   Cleared   Credit        844.09 MOLINA HEALTHCAR                      /         165
                                                                                                                                                    01275755
                                                                                                                                                        USD
  4/23/24 Carrollton/PWD GOV Deposits    PREAUTHORIZED ACH CREDIT   Cleared   Credit       1401.04 HUMANA CHA DISB                   /             46185649
                                                                                                                                                   165 USD
  4/23/24 Carrollton/PWD GOV Deposits    PREAUTHORIZED ACH CREDIT   Cleared   Credit         94.89 HUMANA CHA DISB                   /             46185648
                                                                                                                                                   165 USD
  4/19/24 Carrollton/PWD GOV Deposits    CHECK DEPOSIT PACKAGE      Cleared   Credit         1103                                                  175 USD
  4/18/24 Carrollton/PWD GOV Deposits    PREAUTHORIZED ACH CREDIT   Cleared   Credit       9320.26 HNB - ECHO           /                     462265960
                                                                                                                                                   165 USD         /
  4/17/24 Carrollton/PWD GOV Deposits    CHECK DEPOSIT PACKAGE      Cleared   Credit      10501.46                                                 175 USD
  4/16/24 Carrollton/PWD GOV Deposits    PREAUTHORIZED ACH CREDIT   Cleared   Credit      16310.84 NOVITAS SOLUTION                  /             676363
                                                                                                                                                   165 USD            /
  4/15/24 Carrollton/PWD GOV Deposits    PREAUTHORIZED ACH CREDIT   Cleared   Credit         2244 HNB - ECHO            /                     462265960
                                                                                                                                                   165 USD         /
  4/10/24 Carrollton/PWD GOV Deposits    PREAUTHORIZED ACH CREDIT   Cleared   Credit      18361.23 HEALTH HUMAN SVC                      /         165
                                                                                                                                                    14622659606000
                                                                                                                                                        USD
   4/9/24 Carrollton/PWD GOV Deposits    CHECK DEPOSIT PACKAGE      Cleared   Credit       3362.85                                                 175 USD
   4/8/24 Carrollton/PWD GOV Deposits    PREAUTHORIZED ACH CREDIT   Cleared   Credit      11354.03 NOVITAS SOLUTION                  /             676363
                                                                                                                                                   165 USD            /
   4/5/24 Carrollton/PWD GOV Deposits    CHECK DEPOSIT PACKAGE      Cleared   Credit       2858.53                                                 175 USD
   4/4/24 Carrollton/PWD GOV Deposits    CHECK DEPOSIT PACKAGE      Cleared   Credit        6459.4                                                 175 USD
   4/4/24 Carrollton/PWD GOV Deposits    PREAUTHORIZED ACH CREDIT   Cleared   Credit       2467.63 NOVITAS SOLUTION                  /             676363
                                                                                                                                                   165 USD            /
   4/2/24 Carrollton/PWD GOV Deposits    CHECK DEPOSIT PACKAGE      Cleared   Credit       5601.84                                                 175 USD
   4/2/24 Carrollton/PWD GOV Deposits    CHECK DEPOSIT PACKAGE      Cleared   Credit       4486.76                                                 175 USD

                                                                                        260593.5
     Case 24-40605
RH Carrollton Exhibit D Doc 116-1 Filed 05/22/24 Entered 05/22/24 18:06:04                                   Desc Exhibit
                               MOR April Carrollton Page 20 of 32

4/30/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements ACH-66DEBIT
                                                       62000019 Debit   DALLAS LIFE SUPP / 817-284-7788 / DALLAS LIFE SUPP ACH / ACCOUNT NAME /
4/30/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements-23.45
                                               ACH DEBIT
                                                       62000019 Debit   EXPONENTHR / 24-07683-5059 / EXPONENTHR INVOICE / EXPONENT TECHN 24-0768
4/29/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT          -594 62000019 Debit    IN *BIOMEDICAL 5169 / 409-7362447 TX 77640 0108 /
4/29/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT      -280.18 62000019 Debit     AMZN Mktp US*NF 5942 / Amzn.com bill WA 98109 5957 /
4/29/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT       -198.4 62000019 Debit     HAD*HARRY & DAV 5441 / 800-345-5655 OR 97501 5957 /
4/29/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT       -92.54 62000019 Debit     AMAZON.COM*6D7X 5942 / SEATTLE WA 98109 5957 /
4/29/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements
                                           -8,053.75
                                               ACH DEBIT
                                                       62000019 Debit   REGIONS BANK ACCT TRANS / 271665142 NANDASHIPP /
4/29/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements
                                           -3,521.50
                                               ACH DEBIT
                                                       62000019 Debit   REGIONS BANK ACCT TRANS / 271665142 NANDASHIPP /
4/29/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements
                                           -2,555.49
                                               ACH DEBIT
                                                       62000019 Debit   REGIONS BANK ACCT TRANS / 271665142 NANDASHIPP /
4/29/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements-16.46
                                               ACH DEBIT
                                                       62000019 Debit   REGIONS BANK ACCT TRANS / 271665142 NANDASHIPP /
4/26/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT      -678.14 62000019 Debit     AMZN Mktp US*SA 5942 / Amzn.com bill WA 98109 5957 /
4/26/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT      -100.61 62000019 Debit     AMZN Mktp US*1V 5942 / Amzn.com bill WA 98109 5957 /
4/26/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT         -2.13 62000019 Debit    WM SUPERC Wal- 5411 / PLANO 0108 /
4/26/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements
                                             -564.78
                                               ACH DEBIT
                                                       62000019 Debit   REGIONS BANK PREFUNDDBT / 271665142 NANDASHIPP /
4/26/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements ACH
                                                 -350DEBIT
                                                       62000019 Debit   REGIONS BANK PREFUNDDBT / 271665142 NANDASHIPP /
4/25/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT      -476.95 62000019 Debit     G.M. SUPPLIES L 5085 / 800-537-1005 IL 60061 0108 /
4/25/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements
                                           -2,450.45
                                               ACH DEBIT
                                                       62000019 Debit   REGIONS BANK PREFUNDDBT / 271665142 NANDASHIPP /
4/24/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT       -229.6 62000019 Debit     AMZN Mktp US*EK 5942 / Amzn.com bill WA 98109 5957 /
4/24/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT       -51.53 62000019 Debit     AMZN Mktp US*96 5942 / Amzn.com bill WA 98109 5957 /
4/24/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements
                                           -4,300.00
                                               ACH DEBIT
                                                       62000019 Debit   MIRANDA M. WILLI / / MIRANDA M. WILLI SALE / REMARKABLE HEA /
4/24/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements ACH-71DEBIT
                                                       62000019 Debit   MARSHALL SHREDDI / / MARSHALL SHREDDI SALE / 4501 PLANO PAR /
4/22/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT           -50 62000019 Debit    SAMS CLUB RENEW 5300 / 4699522417 TX 75069 5957 /
4/22/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT       -32.46 62000019 Debit     ADOBE *ADOBE 5734 / 408-536-6000 CA 95110 5957 /
4/19/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT       -21.64 62000019 Debit     ADOBE *ADOBE 5734 / 408-536-6000 CA 95110 5957 /
4/19/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements
                                           -7,280.65
                                               ACH DEBIT
                                                       62000019 Debit   REGIONS BANK PREFUNDDBT / 271665142 NANDASHIPP /
4/19/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements
                                             -803.19
                                               ACH DEBIT
                                                       62000019 Debit   CARE ONE COMMUNI CAREONECOM / DIANE MCPIKE M80396910801 /
4/17/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements
                                           -1,115.00
                                               ACH DEBIT
                                                       62000019 Debit   DALLAS LIFE SUPP / 817-284-7788 / DALLAS LIFE SUPP ACH / ACCOUNT NAME /
4/15/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements
                                           -4,633.66
                                               ACH DEBIT
                                                       62000019 Debit   CAC SPECIALTY / 17358329 / CAC SPECIALTY PAYMENTS / REGIONS BANK 17358329
4/15/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT       -70.25 62000019 Debit     THE HOME DEPOT 5200 / PLANO TX 75093 5957 /
4/15/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements
                                           -1,846.62
                                               ACH DEBIT
                                                       62000019 Debit   REGIONS BANK PREFUNDDBT / 271665142 NANDASHIPP /
4/12/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements
                                           -5,000.00
                                               ACH DEBIT
                                                       62000019 Debit   JW HCRS LLC / 24...
4/12/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements
                                             -283.52
                                               ACH DEBIT
                                                       62000019 Debit   PERFORMANCESSLA / Cust #02459 / PERFORMANCESSLA AR PAYMENT / REMARKA
4/12/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT            -5 62000019 Debit    UT SOUTHWESTERN 7523 / DALLAS TX 75390 5957 /
4/12/24 Cleared   Carrollton/PWD
                              MISCELLANEOUS
                                 Disbursements
                                           -1,000.00
                                               DEBIT 62000019 Debit     EB TO CHECKING # 0247446188 / REF# 000000 8647340 /
4/12/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT       -45.48 62000019 Debit     AMZN Mktp US*D1 5942 / Amzn.com bill WA 98109 5957 /
4/11/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements ACH
                                                 -625DEBIT
                                                       62000019 Debit   JMJ1 / / JMJ1 SALE / REMARKABLE HEA /
4/10/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements
                                           -4,633.66
                                               ACH DEBIT
                                                       62000019 Debit   CAC SPECIALTY / 17306329 / CAC SPECIALTY PAYMENTS / REGIONS BANK 17306329
 4/9/24 Cleared   Carrollton/PWD
                              MISCELLANEOUS
                                 Disbursements
                                             -394.53
                                               FEES 62000019 Debit      ANALYSIS CHARGE 03-24 /
 4/9/24 Cleared   Carrollton/PWD
                              MISCELLANEOUS
                                 Disbursements FEES
                                                  -37 62000019 Debit    ANALYSIS EXPLICIT CHARGE 03-24 /
 4/9/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements ACH
                                                 -625DEBIT
                                                       62000019 Debit   JMJ1 / / JMJ1 SALE / REMARKABLE HEA /
 4/9/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements-14.55
                                               ACH DEBIT
                                                       62000019 Debit   DALLAS LIFE SUPP / 817-284-7788 / DALLAS LIFE SUPP ACH / ACCOUNT NAME /
 4/8/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT      -765.94 62000019 Debit     AMZN Mktp US*0E 5942 / Amzn.com bill WA 98109 5957 /
 4/8/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT       -43.26 62000019 Debit     THE HOME DEPOT 5200 / PLANO TX 75093 5957 /
 4/8/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT       -25.95 62000019 Debit     THE HOME DEPOT 5200 / PLANO TX 75093 5957 /
 4/8/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT         -8.93 62000019 Debit    Microsoft G0429 5045 / 701-2817490 WA 98052 5957 /
 4/5/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT       -48.98 62000019 Debit     AMZN Mktp US*TQ 5942 / Amzn.com bill WA 98109 5957 /
 4/5/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements
                                          -16,900.00
                                               ACH DEBIT
                                                       62000019 Debit   REGIONS BANK ACCT TRANS / 271665142 NANDASHIPP /
 4/5/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements
                                             -283.52
                                               ACH DEBIT
                                                       62000019 Debit   PERFORMANCESSLA / Cust #02459 / PERFORMANCESSLA AR PAYMENT / REMARKA
 4/4/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT      -201.07 62000019 Debit     AMZN Mktp US*X4 5942 / Amzn.com bill WA 98109 5957 /
 4/4/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT         -8.05 62000019 Debit    WM SUPERCENTER 5411 / PLANO TX 75093 5957 /
 4/4/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements
                                          -30,112.98
                                               ACH DEBIT
                                                       62000019 Debit   REGIONS BANK ACCT TRANS / 271665142 NANDASHIPP /
 4/4/24 Cleared   Carrollton/PWD
                              MISCELLANEOUS
                                 Disbursements
                                          -10,000.00
                                               DEBIT 62000019 Debit     EB TO CHECKING # 0247446188 / REF# 000000 8647314 /
 4/3/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT      -115.21 62000019 Debit     RINGCENTRAL INC 4814 / 888-898-4591 CA 94002 5957 /
 4/3/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT         -48.6 62000019 Debit    WCI*WASTE CONNE 4900 / 832-442-2200 TX 77380 0108 /
 4/3/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT          -660 62000019 Debit    VT DIAGNOSTEX B 8011 / 817-5146271 TX 76054 0108 /
 4/3/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT           -51 62000019 Debit    ALARMS ECOM 9399 / 972-466-3120 TX 75006 0108 /
 4/3/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT       -37.73 62000019 Debit     AMZN Mktp US*RO 5942 / Amzn.com bill WA 98109 5957 /
 4/3/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT       -23.82 62000019 Debit     AMZN Mktp US*EQ 5942 / Amzn.com bill WA 98109 5957 /
 4/3/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT       -22.81 62000019 Debit     AMZN Mktp US*QZ 5942 / Amzn.com bill WA 98109 5957 /
 4/3/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements
                                          -20,261.45
                                               ACH DEBIT
                                                       62000019 Debit   REGIONS BANK ACCT TRANS / 271665142 NANDASHIPP /
 4/2/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT    -4,275.88 62000019 Debit     NORTH TEXAS FIR 1731 / 194-04358403 TX 76266 0108 /
 4/2/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT      -331.06 62000019 Debit     Indeed 90600881 7311 / 800-4625842 TX 78750 5957 /
 4/2/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT      -257.88 62000019 Debit     MRS PRINDAB 5499 / 888-215-1100 IL 60714 5957 /
 4/2/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements
                                             -870.49
                                               ACH DEBIT
                                                       62000019 Debit   CENTRAL PAYMENT / 84...
 4/1/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT       -25.95 62000019 Debit     THE HOME DEPOT 5200 / PLANO TX 75093 5957 /
 4/1/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT       -16.12 62000019 Debit     RACETRAC 77 0 5542 / CARROLLTON TX 75010 5957 /
 4/1/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT      -154.94 62000019 Debit     WALMART.COM 5310 / 800-925-6278 AR 72716 5957 /
3/29/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements
                                             -283.52
                                               ACH DEBIT
                                                       62000019 Debit   PERFORMANCESSLA / Cust #02459 / PERFORMANCESSLA AR PAYMENT / REMARKA
3/29/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT       -10.91 62000019 Debit     WAL-MART #2086 5411 / PLANO TX 75093 5957 /
3/29/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT       -27.04 62000019 Debit     THE HOME DEPOT 5200 / PLANO TX 75093 5957 /
3/28/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT       -92.54 62000019 Debit     Amazon.com*RA2V 5942 / Amzn.com bill WA 98109 5957 /
3/28/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT         -5.57 62000019 Debit    UBER TRIP 4121 / HELP.UBER.COM CA 94105 5957 /
3/28/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements
                                           -2,520.65
                                               ACH DEBIT
                                                       62000019 Debit   REGIONS BANK PREFUNDDBT / 271665142 NANDASHIPP /
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   3/28/24 Cleared   Carrollton/PWD
                                 PREAUTHORIZED
                                    Disbursements
                                               -283.52
                                                  ACH DEBIT
                                                          62000019 Debit   PERFORMANCESSLA / Cust #02459 / PERFORMANCESSLA AR PAYMENT / REMARKA
   3/28/24 Cleared   Carrollton/PWD
                                 PREAUTHORIZED
                                    Disbursements ACH-71DEBIT
                                                          62000019 Debit   MARSHALL SHREDDI / / MARSHALL SHREDDI SALE / 4501 PLANO PAR /
   3/27/24 Cleared   Carrollton/PWD
                                 ATMDisbursements
                                     DEBIT     -123.11 62000019 Debit      CST LLC 8050 / WWW.CROWNSHIE TX 75068 0108 /
   3/27/24 Cleared   Carrollton/PWD
                                 ATMDisbursements
                                     DEBIT     -102.76 62000019 Debit      CST LLC 8050 / WWW.CROWNSHIE TX 75068 0108 /
   3/27/24 Cleared   Carrollton/PWD
                                 ATMDisbursements
                                     DEBIT     -394.83 62000019 Debit      CST LLC 8050 / WWW.CROWNSHIE TX 75068 0108 /
   3/25/24 Cleared   Carrollton/PWD
                                 PREAUTHORIZED
                                    Disbursements
                                               -394.83
                                                  ACH DEBIT
                                                          62000019 Debit   CST LLC 8050 / WWW.CROWNSHIE TX 75068 0108 /
   3/25/24 Cleared   Carrollton/PWD
                                 PREAUTHORIZED
                                    Disbursements-25.95
                                                  ACH DEBIT
                                                          62000019 Debit   THE HOME DEPOT 5200 / PLANO TX 75093 5957 /
   3/21/24 Cleared   Carrollton/PWD
                                 ATMDisbursements
                                     DEBIT         -91.9 62000019 Debit    WALMART.COM 5310 / 800-925-6278 AR 72716 5957 /
   3/21/24 Cleared   Carrollton/PWD
                                 ATMDisbursements
                                     DEBIT         -7.99 62000019 Debit    MARKET STREET 5 5411 / FLOWER MOUND TX 75028 5957 /
   3/20/24 Cleared   Carrollton/PWD
                                 ATMDisbursements
                                     DEBIT     -638.13 62000019 Debit      CST LLC 8050 / WWW.CROWNSHIE TX 75068 0108 /
   3/20/24 Cleared   Carrollton/PWD
                                 ATMDisbursements
                                     DEBIT     -250.08 62000019 Debit      CST LLC 8050 / WWW.CROWNSHIE TX 75068 0108 /
   3/20/24 Cleared   Carrollton/PWD
                                 ATMDisbursements
                                     DEBIT       -32.46 62000019 Debit     ADOBE *ADOBE 5734 / 408-536-6000 CA 95110 5957 /
   3/20/24 Cleared   Carrollton/PWD
                                 PREAUTHORIZED
                                    Disbursements ACH-42DEBIT
                                                          62000019 Debit   DALLAS LIFE SUPP / 817-284-7788 / DALLAS LIFE SUPP ACH / ACCOUNT NAME /


                                           $ (144,144.58)

     4/4/24                                $ (78,946.23)                   Payroll need covered by KRS, landlord, new operator
    4/19/24                                $ (157,634.73)                  Payroll need covered by KRS, landlord, new operator

Total                                      $ (380,725.54)
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Carrollton Exhibit E Total April Payables
unpaid
Date:5/21/2024
Time:
User:

Vendor                                           Code               0-30    Purpose                Due

A-1 Grease Services, Inc.                        2303               0.00

Aashka Medical Group                             2243               0.00
Abshire Dietary Consultants                      52                 0.00

Acadian Ambulance                                199                0.00
All Needz Plumbing                               686                0.00
Allegiance Ambulance                             777                0.00
Alliance Hospital Medicine &#8453; Dr. Alhez..   2050               0.00


AT&T MOBILITY (Account 877003191)                716                0.00

Atmos Energy                                     141              222.47    Utility                  25-May-24
Auto-Chlor                                       2498            1,142.24   Chemicals                15-May-24
Berrett Pest Control                             2476             204.59
                                                                            Pest Control Service     15-May-24
Biomedical Waste Solutions                       1673               0.00

BioSTAT                                          2009               0.00
BioStat Imaging, LLC                             2376               0.00
Blue Cross Blue Shield of Texas                  81                 0.00

Camila Molina                                    1676               0.00
Cantwell Power Solutions, LLC                    133                0.00

Care One Communications LLC                      2360             803.19
                                                                            Utility                  15-May-24
Care Trips LLC                                   2218               0.00
CareNow (GA)                                     1525               0.00
Carrington Coleman                               2390               0.00
Charlotte Robinson                               3203              13.25
City Ambulance Service                           2447               0.00
City of Carrollton                               788             2,896.13   Utility                  25-May-24
Compass Medicare Billing LLC                     3292               0.00

Complete Backflow Services Company, LLC          3239               0.00


Complete ERC                                     2455               0.00
Cotton Commercial USA, Inc                       2231               0.00

Crown Shields Transport, LLC                     2979               0.00

Curtis Law                                       1576               0.00
Custom Repair                                    2500               0.00
Dallas Life Support Systems Inc.                 115                0.00

Dearborn National                                1985               0.00
Digital Verdict, Inc.                            2509               0.00
Direct Energy Business                           2507            4,932.21   Utility                  25-May-24
Elite Discovery, Inc                             1822               0.00
Engie Resources                                  1988               0.00
Exponent Technologies, Inc.                      1254            1,166.63
                                                                            Payroll Services         25-May-24
Frontier 972-492-1641-081 0225                   2371              68.99
                                                                            Utility                  25-May-24
George Kuehn                                     2964               0.00
Glenda Smith                                     2397               0.00
Gorman Mechanical                                2338               0.00
Infinity Mechanical Services LLC                 1040               0.00

IPFS Corporation                                 463                0.00
ISOLVED BENEFIT SERVICES BENEFIT                 2058               0.00
SERVICE
Janicek Law Firm PC                              2482               0.00
Jessica Anderson                                 94                 0.00
JJJNEMT LLC                                      2439               0.00
Kaliber Data Security & Compliance               285                0.00

Lawn & Landcare                                  2443               0.00
Leanne Hall                                      3072               0.00
Logos Clinical Laboratory, LLC                   3047             150.00
                                                                            Lab services             25-May-24
Lola Lorena Ltd. Co.                             11                 0.00
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Manage Meds, LLC                          855                   0.00
Management and Network Services           500                   0.00

Marquisha Johnson                         2849                  0.00
Marshall Shredding Co.                    2901                  0.00
Mary Jane Salazar                         593                   0.00
Mas Vida Health Care Solutions            2515                  0.00

Maverick Medical Transportation Company   3293              1,197.00
                                                                       Non emergency transport 25-May-24
MDS Consultants                           3092                  0.00
MedixCar LLC                              2226                  0.00
Medline Industries, Inc.                  281                   0.00
Mid-South Fire Solutions, LLC             2256                  0.00

Miranda M. Williams, LLC                  2269                  0.00

Miriam Rosado Bosqu                       2965                  0.00
More Power Vent Cleaning                  261                   0.00

Neighborhood Portable X-Ray               3046                  0.00

Netsmart Technologies, Inc.               2378                  0.00

New Benefits Ltd.                         1311                70.00
New Source Medical                        1718              7,272.25   Patient equipment rental 25-May-24
Nichole Rose                              2972                  0.00
North Texas Fire Systems, LLC             2044                45.00

Nutritious Lifestyles, Inc.               3113                  0.00

Orkin                                     1983                  0.00
Performance Foodservice                   2469                  0.00

Performance Health                        1528                  0.00
Petty Cash - Maintenance                  210                   0.00

Petty Cash PWD - Kelsey Diehl             887                   0.00

Pharmacy Unlimited                        1995              5,026.03   Patient meds               30-Jun-24
PointClick Care Technologies INC          25                3,074.14
                                                                       Software                   25-May-24
Precision Plumbing Dallas                 2061                  0.00

Quatro Tax LLC                            1511                  0.00
Quintairos, Prieto, Wood and Boyer PA     2168                  0.00

RC Practitioners, PLLC                    821                   0.00
Rita Edore                                2828                  0.00
Salvador Flores                           3133              1,357.91   Patient refund             25-May-24
Sash Healthcare Service[Dr. Shay Mayya]   2042                  0.00


Scrubs on Wheels                          2416                  0.00
SHAMAAR MORRISON                          2434                  0.00

ShredAmerica Texas LLC                    2295                  0.00

Simply Work                               1388              (257.35)
Spectrum 8260 13 009 210 0034             2459                  0.00

Summit LTC Management                     2943                  0.00

Taylor Sudden Service, Inc.               2354                  0.00

Texas Health and Human Services Comm.     1708                  0.00


Texas Radiology Associates                2355                  0.00

The Copier Guy                            2501                  0.00
The PICC Team DFW                         2169                  0.00
Three D Lawn Care LLC                     2477                  0.00

Time Warner Cable 8260131000009820        1013                  0.00

Turner, Stone & Company LLP               1712                  0.00

Unlimited Air Conditioning & Heating      2504                  0.00

Vanguard Vascular & Vein                  2267                  0.00

WellSky Corporation                       2342                  0.00
KRS Rent                                           $     122,042.09    rent                 n/a
                                                          151,426.77
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Carrollton Exhibit F
                                                       Greater than   Greater than   Greater than   Greater than   Greater than   Greater than   Greater than   Greater than   Greater than
                 Payer      Total          Current
                                                         30 days        60 days        90 days       120 days       150 days       180 days       210 days       240 days       270 days
Remarkable Healthcare of Carrollton
             ATX         $11,814.00           -        $11,814.00          -              -              -              -              -              -              -              -
             CGL          $8,056.46           -             -              -              -          $2,160.00      $5,256.46          -           $640.00           -              -
              GR         $36,958.47           -         $9,009.39      $2,783.64     $11,588.81      $4,119.33      $5,201.73      $2,642.08       $829.87        $783.62           -
              HM          $7,719.27       $3,021.90      $328.94       $2,712.37          -              -              -          $1,656.06          -              -              -
              HP          $1,903.90       $1,903.90         -              -              -              -              -              -              -              -              -
              MA         $731,190.97     $210,894.45   $171,002.86    $89,964.46     $55,302.87     $44,566.04     $35,035.71     $24,770.78     $19,197.46     $18,400.52     $62,055.82
             MAI          $2,567.00           -             -              -              -              -              -              -              -              -          $2,567.00
             MAM         $98,590.45      $11,072.26    $21,400.21     $20,231.78     $14,865.88     $11,545.32      $4,075.00          -              -              -         $15,400.00
             MAP          $4,952.46           -             -              -              -              -              -              -              -          $1,307.33      $3,645.13
             MBI          $1,022.25        $150.87          -           $213.76        $86.33            -              -              -              -              -           $571.29
             MBP          $2,161.36        $597.23       $366.99           -              -              -              -              -              -           $240.28        $956.86
             MCA         $99,122.16      $53,637.79    $30,849.78      $3,339.50          -              -              -              -              -              -         $11,295.09
             MCB         $52,265.38      $23,671.74    $17,774.57      $1,573.02      $3,151.39      $1,934.97          -          $1,038.37          -           $961.14       $2,160.18
             MCP          $2,244.00           -             -          $2,244.00          -              -              -              -              -              -              -
             MCT         $131,197.76     $10,431.56     $6,905.10     $14,791.37     $20,782.48     $12,740.83      $6,736.48      $3,527.01      $9,798.25      $2,650.75     $42,833.93
             MGA          $4,400.00           -             -              -              -              -          $2,200.00          -              -              -          $2,200.00
             MGR         $107,206.52      $3,048.28    $14,242.80     $12,371.93      $5,234.22      $1,883.30      $1,659.48     $42,834.29      $6,814.82      $4,284.29     $14,833.11
              MP         $99,358.21       $9,562.41     $2,204.87      $8,404.47      $7,041.29      $4,966.23      $4,635.48      $4,543.11     $14,827.85     $14,655.59     $28,516.91
              PP         $36,721.81           -         $3,404.24          -          $3,267.00      $4,235.00      $1,375.00      $5,550.00     $12,147.97      $6,742.60          -
            TOTAL       $1,439,452.43    $327,992.39   $289,303.75    $158,630.30    $121,320.27    $88,151.02     $66,175.34     $86,561.70     $64,256.22     $50,026.12     $187,035.32
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Remarkable Healthcare of Carrollton
Period Based Income Statement

User: Jon McPike
                                                      3/1/2024 to 3/31/2024

Include Adjustment Periods: NO                        Include Closing Periods: NO

                                                      March 24_Actual $
                                                               0
Revenue
 Revenue by Payor
   Private Pay                                             49,071
   Medicare Part A                                         74,792
   Medicaid                                               267,355
   Managed Care                                            24,815
   Medicare Part B                                         21,365
   Other Income                                              -701
 TOTAL Revenue by Payor                                   436,697
TOTAL Revenue                                             436,697
                                                                0
Expenses
  Nursing Administration Costs
   Salaries - Director of Nursing                          11,760
   Salaries - Nursing Admin Staff                           8,731
   Salaries - Hazard Pay Nursing Admin                          0
   Recruiting Bonus - Nursing Admin                             0
   Vac/Sick/Holiday - Nursing Admin                             0
   FICA/MC - Nursing Admin                                      0
   FUTA/SUTA - Nursing Admin                                    0
   Employee Benefits - Nursing Admin                        3,453
   Nursing Supplies - Nursing Admin                             0
   Risk Management - Nursing Admin                              0
   Quality Assurance - Nursing Admin                            0
   Infection Control - Nursing Admin                            0
   Dues/Memberships/Subscriptions - Nursing Admin               0
   Training/Seminar/Conf - Nursing Admin                        0
   Travel - Nursing Admin                                       0
  TOTAL Nursing Administration Costs                       23,944
  Nursing Services
   Salaries - Restorative Aide                                  0
   Salaries - RN                                            5,422
   Salaries - LVN                                          40,305
   Salaries - CNA                                          80,102
   Salaries - Hazard Pay Nursing Svc                            0
   Employee Benefits - Nursing Svc                          4,158
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 Recruting/Advertising/Bonus - Nursing Svc                   0
 FICA/MC - Nursing Svc                                       0
 FUTA/SUTA - Nursing Svc                                     0
 Contract Labor - Nursing Svc                                0
 Floor Stock Drugs and Supplies                          1,666
 Nursing Supplies                                        5,313
 Medical Supplies Non-Chargeable - NSG SVC                   0
 DME Rental - NSG SVC                                    7,049
 Durable Medical Equipment                                   0
 Flu/Pneumonia Vaccine                                       0
 Oxygen and Supplies                                         0
 Risk Management - Nursing Svc                               0
 Incontinent Supplies                                    1,468
 Dietary Supplements                                       261
 Enteral Supplies - NSG SVC                                851
 Minor Equipment - Nursing Svc                               0
 Medical Waste                                             198
 Training/Seminars/Conference - Nursing Svc                  0
 Travel - Nursing Svc                                        0
 Forms and Printing                                          0
 Overtime - Nursing Svc                                      0
TOTAL Nursing Services                                 146,792
Nursing Services - Medicare A
 Prescription Drugs - MRA                                2,026
 Laboratory - MRA                                          150
 Radiology - MRA                                           320
 Physical Therapy - MRA                                  9,537
 Occupational Therapy - MRA                               -819
 Speech Therapy - MRA                                    3,542
 DME Rental - MRA                                          224
 IV Therapy - MRA                                          294
 Oxygen - MRA                                            1,157
TOTAL Nursing Services - Medicare A                     16,430
Nursing Services - Medicare B
 Physical Therapy - MRB                                  3,381
 Occupational Therapy - MRB                               -500
 Speech Therapy - MRB                                    2,679
TOTAL Nursing Services - Medicare B                      5,560
Nursing Services - Insurance
 Prescription Drugs - INS                                 743
 Physical Therapy - INS                                     0
 Occupational Therapy - INS                                 0
 Speech Therapy - INS                                       0
 IV Therapy - INS                                         102
TOTAL Nursing Services - Insurance                        845
Nursing Services - MCD
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  Physical Therapy - MCD                                     0
  Speech Therapy - MCD                                       0
  Occupational Therapy - MCD                                 0
  Prescription Drugs - MCD                                 685
TOTAL Nursing Services - MCD                               685
Medical Records
  Salaries - Medical Records                                 0
  Salaries - Hazard Pay Med Rec                              0
  FICA/MC - Medical Records                                  0
  Employee Benefits - Medical Records                        0
  FUTA/SUTA - Medical Records                                0
  Supplies - Medical Records                                 0
  Travel - Medical Records                                   0
  Overtime - Medical Records                                 0
TOTAL Medical Records                                        0
Food Services
  Salaries - Food Service Supv.                           2,655
  Salaries - Food Service Staff                          20,236
  Salaries - Hazard Pay Dietary                               0
  Recruiting/Advertising/Bonus - Food Service                 0
  Employee Benefits - Food Service                            0
  FICA/MC - Food Service                                      0
  FUTA/SUTA - Food Service                                    0
  Contract Services - Food Service                            0
  Utensils & Smallware - Dietary                              0
  Supplies - Food Service                                   530
  Minor Equipment - Food Service                              0
  Equipment Rental - Food Service                             0
  Repairs and Maintenance - Food Service                      0
  Risk Management - Food Service                              0
  Raw Food - Food Service                                12,439
  Forms and Printing - Food Service                           0
  Dues/Membership/Subscr. - Food Service                      0
  Training/Seminar/Conf - Food Service                        0
  Travel - Food Service                                       0
  Overtime - Food Service                                     0
TOTAL Food Services                                      35,859
Housekeeping
  Salaries - Housekeeping                                 7,716
  Salaries - Hazard Pay Hsk                                   0
  Employee Benefits - Housekeeping                           35
  Recruiting/Advertising/Bonus - Housekeeping                 0
  FICA/MC - Housekeeping                                      0
  FUTA/SUTA - Housekeeping                                    0
  Contract Services - Housekeeping                        1,792
  Supplies - Housekeeping                                   426
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  Risk Management - Housekeeping                             0
  Minor Equipment - Housekeeping                             0
  Repairs and Maintenance - Housekeeping                     0
  Overtime - Housekeeping                                    0
  Training/Seminar/Conference - Housekeeping                 0
TOTAL Housekeeping                                       9,970
Laundry
  Salaries - Laundry                                     3,000
  Salaries - Hazard Pay Laundry                              0
  Employee Benefits - Laundry                              629
  FICA/MC - Laundry                                          0
  FUTA/SUTA - Laundry                                        0
  Contract Services - Laundry                                0
  Linen and Bedding - Laundry                                0
  Supplies - Laundry                                       446
  Repairs and Mainetenance - Laundry                         0
  Training/Seminars/Conf - Laundry                           0
  Overtime - Laundry                                         0
TOTAL Laundry                                            4,075
Maintenance
  Salaries - Maintenance Supervisor                          0
  Salaries - Maintenance Tech                            9,855
  Salaries - Hazard Pay Maint                                0
  Employee Benefits - Maintenance                          800
  FICA/MC - Maintenance                                      0
  FUTA/SUTA - Maintenance                                    0
  Supplies - Maintenance                                   160
  Risk Management - Maintenance                              0
  A/C Service - Maintenance                                  0
  Repairs and Maintenance - Maintenance                      0
  Minor Equipment - Maintenance                              0
  Pest Control                                             205
  Contract Services - Maint.                                 0
  Utilities - Electric                                   4,932
  Utilities - Water/Sewer                                1,428
  Utilities - Gas                                          982
  Utilities - Cable TV                                   1,830
  Waste Disposal                                            16
  Storage Unit Rental                                        0
  Fire Alarm Maintenance                                    45
  Landscaping                                                0
  Vehicle Lease/Finance                                      0
  Insurance - Auto                                           0
  Fuel and Vehicle Repairs                                   0
  Fuel - Generator                                           0
  Travel - Maintenance                                       0
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  Overtime - Maintenance                                       0
  Training/Seminar/Conference - Maintenance                    0
  Recruiting/Advertising/Bonus - Maintenance                   0
  Depreciation - Maintenance Equipment                         0
TOTAL Maintenance                                         20,253
Activities
  Salaries - Activity Director                             2,878
  Salaries - Acitivities Staff                                 0
  Salaries - Hazard Pay Activities                             0
  Employee Benefits - Activities                               0
  FICA/MC - Activities                                         0
  FUTA/SUTA - Activities                                       0
  Supplies - Activities                                       40
  Risk Management - Activities                                 0
  Equipment Rental - Activites                                 0
  Volunteer Expense - Activities                               0
  Beauty and Barber - Activities                               0
  Pet Therapy Expense - Activities                             0
  Printing Expense - Activities                                0
  Entertainment Expense - Activities                           0
  Dues/Memberships/Subscriptions - Activities                  0
  Training/Seminars/Conference - Activities                    0
  Travel - Activities                                          0
  Advertising/Recruiting - Activities                          0
  Contracted Religious Services - Activities                   0
TOTAL Activities                                           2,918
Social Services
  Salaries - Director of Social Services                   4,321
  Salaries - Social Service Staff                              0
  Overtime - Social Services                                   0
  Employee Recruitment - Social Services                       0
  Employee Benefits - Social Services                          0
  FICA/MC - Social Services                                    0
  FUTA/SUTA - Social Services                                  0
  Supplies - Social Services                                   0
  Dues/Memberships/Subscriptions - Social Services             0
  Training/Seminars/Conference - Social Services               0
TOTAL Social Services                                      4,321
Purchased Services
  Medical Director                                         3,000
  Pharmacy Consultant                                      1,190
  Medical Records Consultant                                   0
  Registered Music Therapist                                   0
  Registered Dietician                                       441
  Chaplaincy                                                   0
  Legal Consultant                                             0
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 Resident Transportation/Ambulance                        6,091
TOTAL Purchased Services                                 10,722
General and Administrative
 Salaries - Administrator                                 6,851
 Salaries - Admissions Coordinator/Marketing             10,767
 Salaries - Admin Staff                                  10,587
 Salaries - Accounts Payable/Payroll                      3,533
 Salaries - Hazard Pay Admin Staff                            0
 Overtime - G&A                                               0
 Bonus - G&A                                                  0
 Employee Benefits - G&A                                    941
 FICA/MC - G&A                                                0
 FUTA/SUTA - G&A                                              0
 Contract Services - G&A                                    886
 Professional Fees - G&A                                     64
 Payroll Fees                                             1,424
 Legal Fees                                                   0
 Consulting - Outside Services                              156
 New Hire Expenses                                            0
 Bad Debt Expense                                             0
 Employee Uniforms - G&A                                      0
 Tuition Reimbursement                                        0
 Employee Relations                                           0
 Employee Recruitment - G&A                                   0
 Training/Seminars/Conference - G&A                           0
 Repairs and Maintenance - G&A                                0
 Equipment Rental - G&A                                       0
 Minor Equipment - G&A                                      135
 Telephone Service - G&A                                  2,092
 IT Data Circuits                                           498
 Contract Services - IT                                   3,074
 Public Relations/Marketing/Advertising                       0
 Dues/Memberships/Subscriptions - G&A                         0
 Postage and Freight                                          0
 Forms and Office Supplies - G&A                            200
 Printing - G&A                                               0
 Business Meals - G&A                                         0
 Travel - G&A                                                48
 Insurance - Workers Comp                                     0
 Insurance - Property and Liability                       1,165
 Parking and Tolls - G&A                                      4
 Interest Expense                                             0
 Mileage - G&A                                                0
 Taxes and Licenses - G&A                                     0
 Depreciation Equipment - G&A                                 0
 Miscellaneous Expense - G&A                                  0
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   Penalties and Late Fees                                       0
   Lost Property Replacement Costs                               0
   Charitable Contributions - G&A                                0
   Printers Cartridges/Ink-G&A                                   0
 TOTAL General and Administrative                           42,425
 Facility Expenses
   Management Fee                                            21835
   Facility Lease/Rent                                      80,000
   Property Taxes                                           11,648
   Facility Depreciation Expense                                 0
   Asset Management Fees                                         0
   Penalties and Late Fees - Facility                            0
   Storm Damage Expense                                          0
   Facility Insurance - FAC                                  8,962
 TOTAL Facility Expenses                                   122,445
TOTAL Expenses                                             447,245
Net Income/Loss                                            -10,548

Add Back:
Interest                                                         0
Covid Hazard Pay                                                 0
Depreciation & Amortization                                      0
EBITDA                                                     -10,548
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ng Periods: NO
